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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS


 JOSE ALVARADO,

                                Plaintiff,                    Docket No. 5:18-cv-1158

        - against -                                           JURY TRIAL DEMANDED

 TEXAS PUBLIC RADIO

                                Defendant.


                                          COMPLAINT

       Plaintiff Jose Alvarado (“Alvarado” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Texas Public Radio (“Texas Public” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of political activist Alexandria Ocasio Cortez, owned and registered by

Alvarado, a professional photographer. Accordingly, Alvarado seeks monetary relief under the

Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in Texas.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.        Alvarado is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 1689 Summit

Street, Yorktown Heights, NY 10598.

       6.        Upon information and belief, Texas Public is a domestic business duly organized

and existing under the laws of the State of Texas, with a place of business 8401 Datapoint Drive,

Suite 800, San Antonio, TX 78229. Upon information and belief Texas Public is registered with

the Texas Department of State Division of Corporations to do business in the State of Texas. At

all times material, hereto, Texas Public has owned and operated a website at the URL:

www.tpr.org (the “Website”).

                                    STATEMENT OF FACTS

       A.        Background and Plaintiff’s Ownership of the Photograph

       7.        Alvarado photographed political activist Alexandria Ocasio Cortez (the

“Photograph”). A true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.        Alvarado is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.        The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-118-599 and titled “6.27.18alexandriaocasiocortez_27.JPG.”

See Exhibit B.

       B.        Defendant’s Infringing Activities

       10.       On or about June 27, 2018, Texas Public ran an article on the Website titled

Alexandria Ocasio-Cortez's New York Primary Win Could Bring Hope For Texas Democrats.

See URL http://www.tpr.org/post/alexandria-ocasio-cortezs-new-york-primary-win-could-bring-
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hope-texas-democrats. The article prominently featured the Photograph. A true and correct copy

of the article and a screenshot of the Photograph on the article are attached hereto as Exhibit C.

          11.     Texas Public did not license the Photograph from Plaintiff for its article, nor did

Texas Public have Plaintiff’s permission or consent to publish the Photograph on its Website.

                                 CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

          12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.     Texas Public infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Texas Public is not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.     Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

          17.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).
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       18.     Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Texas Public be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

               profits, gains or advantages of any kind attributable to Defendant’s infringement

               of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

               U.S.C. § 505;

       5.      That Plaintiff be awarded pre-judgment interest; and

       6.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).


Dated: Valley Stream, New York
       November 5, 2018
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